                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:11-CR-00003-RJC
USA                                               )
                                                  )
   v.                                             )                  ORDER
                                                  )
JOSE DE JESUS GONZALEZ-ESTRADA                    )
                                                  )

        THIS MATTER is before the Court on remand from the United States Court of Appeals

for the Fourth Circuit. (Doc. No. 620: Judgment).

        The defendant pled guilty to all counts in the Superseding Indictment without benefit of a

plea agreement. (Doc. No. 157: Notice and Acceptance of Guilty Plea). It is customary for the

government at sentencing to move to dismiss counts no longer at issue, such as those in the

original indictment. In this case, however, the government did not so move, but the Judgment

mistakenly recorded that it did. (Doc. No. 532: Sent. Hr’g Tr. at 25; Doc. No. 492: Judgment at

1). Thus, the Fourth Circuit remanded the case for correction of the clerical error in the

Judgment. (Doc. No. 620: Opinion at 4). The Mandate was issued December 20, 2013, but the

government has yet to file a motion to dismiss Count One of the original Indictment.

        IT IS, THEREFORE, ORDERED, that the government shall file a pleading within

twenty-one days of the entry of this Order to show cause why Count One of the original

Indictment should not be dismissed.

                                                       Signed: July 22, 2014




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